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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division



UNITED STATES OF AMERICA,                            CASE NO.:1:18-CR-308
                      Plaintiff,                     MOTION FOR BAIL PENDING
vs.                                                  SENTENCING 18 U.S.C §3145(c);
                                                     MEMORANDUM OF POINTS AND
MARKARA MAN,                                         AUTHORITIES [PROPOSED ORDER]

                      Defendant.                     DATE: August 31, 2018
                                                     TIME: 3:00 pm
                                                     HONORABLE T.S. Ellis, III




         Markara Man, by and through his attorney, Edward M. Robinson, respectfully moves this

Court for an Order continuing Mr. Man on the same release conditions set by the Court in the

Central District of California. As set forth herein, there are exceptional reasons why Mr. Man

should remain released on the previously imposed conditions. Mr. Man, through this motion and

based upon any evidence or argument presented at his change of plea hearing, is prepared to

establish by clear and convincing evidence, that he is not likely to flee or pose a danger to the

safety of any other person or the community.

         Mr. Man acknowledges that, as set forth in his plea agreement in paragraph 2, his case

and the charge to which he is pleading guilty, is governed by 18 U.S.C. §3143(a)(2) and 3145(c).

He, in light of this, understands that he, through counsel, must show by clear and convincing

evidence, why his detention pending sentencing would not be appropriate.




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       Once the district court has detained a defendant after conviction, it may then release that

defendant pursuant to 18 U.S.C. §3145(c). United States v. Garcia, 340 F.3d 1013 (9th Cir.

2003). In Garcia, the Court of Appeals explained, “the court should examine the totality of the

circumstances and, on the basis of that examination, determine whether, due to any truly unusual

factors or combination of factors…it would be unreasonable to incarcerate the defendant prior to

the appellate court’s resolution of his appeal.” Garcia at 1014 fn.1.

       In United States v. Carey, 2014 WL 295381, the United States District Court in the

Southern District of California, in reliance on the Garcia opinion, listed some examples of

“exceptional reasons” that make pre-sentencing incarceration “unreasonable.” The examples

include, aberrant conduct, nature and circumstances of the offense and the hardships of pre-

sentence incarceration where, “incarceration would impose exceptional risks on a defendant

involving his physical or mental well-being-risks that might arise as a result of the nature of his

crime or even as a result of his possessing certain physical, psychological, or other

characteristics.” Carey at,____, citing Garcia at 1019-1020. The District Court in Carey noted

with respect to the unusually harsh consequences to a particularly vulnerable defendant:

       “[c]hief among such circumstances is a sufficiently serious illness or injury. A
       severely ill or injured defendant might have exceptional reasons even if the
       requisite medical treatment is available in prison. District judges may consider
       such factors as the desirability of maintaining an uninterrupted course of
       treatment while a defendant remains in the case of a particular physician who is
       providing individual medical supervision to the patient.”

       Counsel for Mr. Man is prepared to proffer a report of a psychological evaluation by Dr.

Paul Lane. In that report, Dr. Lane opines that Mr. Man is undoubtedly suffering from a mental

condition that contributed directly to his commission of the acts supporting his conviction.




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These actions by Mr. Man appear to be the product of his mental illness and are also aberrant. He

has no history of anything like this. Given his mental condition, which manifests itself in the

manner set forth in Dr. Lane’s report, it is almost certain that Mr. Man will be at a much greater

risk of hardship while incarcerated pending sentencing. He has abided by his release

conditions which include electronic monitoring and regular psychiatric and psychological

counseling. Now that he is medicated properly and receiving treatment, his extreme depression

and suicidal ideation have greatly subsided.

       Mr. Man is being successfully treated while on release, pursuant to the terms in place.

He has plead guilty at the earliest opportunity and has accepted responsibility for his crime. The

district court in United States v. Kaquatosh, 252 F.Supp. 2d 775 (E.D. Wis. 2003) released a

defendant pending sentencing on serious assault charges where the defendant had successfully

completed a substance abuse program that was related to the underlying offense. As set forth in

Dr. Lane’s report, Mr. Man, now that he is medicated and being treated, is progressing well.


                                         CONCLUSION

       Mr. Man is not a danger or a flight risk. This is clear. He has responded to treatment in

an extraordinary way. His behavior was aberrant. Local incarceration pending sentencing will

subject Mr. Man unnecessarily to hardships that flow directly from who he is and from

what he suffers. These are the “exceptional reasons” that Congress and the courts have identified

as reasons for release pending sentencing.

       Therefore, Mr. Man respectfully asks this Court to release him pending sentencing

on the conditions of release set by the Magistrate Judge on which Mr. Man has been in full

compliance.




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August 30, 2018                    Respectfully Submitted,

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                                   ATTORNEYS FOR DEFENDANT
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                                CERTIFICATE OF SERVICE

        I hereby certify on this 30th day of August 2018 that I have electronically filed the Motion
for Bail Pending Sentencing 18 U.S.C §3145(c) using the CM/ECF system, which will then send
a notification of such filing (NEF) to the following:

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                                                     /s/ Evan M. Lisull
                                                     Evan M. Lisull




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